                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF LOUISIANA
                                MONROE DIVISION

IN RE: AURELE JACQUES CHEVRIER                                      CASE NO.: 18-31827
        NILA BLOOMER CHEVRIER
      CHAPTER 7
       (Debtors)

               MOTION TO ALLOW LATE FILED REAFFIRMATION
                              AGREEMENT
                NOTICE OF HEARING AND RESPONSE DEADLINE

A hearing has been set on April 18, 2019 @ 10:00 a.m. at the United States Courthouse,
Bankruptcy Courtroom, 210 Jackson Street, Monroe, La. 71210.

Aurele and Nila Chevrier have filed papers with the court to obtain court permission to enter a
late filed reaffirmation agreement with Federal National Mortgage Association. Your rights may
be affected. You should read these papers carefully and discuss them with your attorney, if you
have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.
If you do not want the court to grant the relief sought in the Motion, then on or before seven
days from the hearing date set forth for the Motion, you must file with the court a written
response explaining your position by mailing your response by regular U.S. Mail to Clerk U S
Bankruptcy Court, 300 Fannin Street, Shreveport, LA 71101 OR your attorney must file a response
using the court's ECF System.

 The court must receive your response on or before the date set above.
 You must also send a copy of your response either by 1) the court's ECF System or by 2)
 regular U.S. Mail to:

Sam Henry, IV, Attorney, 502 Trenton Street, West Monroe, La. 71291; and

John Clifton Conine, Chapter 7 Trustee, 1150 Miller Farm Road, Natchitoches, LA 71457-5322.

 IF YOU OR YOUR ATTORNEY DO NOT TAKE THESE STEPS, THE COURT MAY
 DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE
 MOTION/OBJECTION AND MAY ENTER AN ORDER GRANTING THAT RELIEF
 WITHOUT FURTHER HEARING OR NOTICE.

        Now come Aurele and Nila Chevrier who move this Court to allow the entry of a
 late filed reaffirmation agreement with Federal National Mortgage Association pursuant
 to Bankruptcy Rule 4008(a) for the reasons listed below.

 1. Aurele and Nila Chevrier filed bankruptcy on November 8, 2018. The case was
    discharged on March 7, 2019.




  18-31827 - #15 File 03/22/19 Enter 03/22/19 14:59:10 Main Document Pg 1 of 3
 2. Debtors negotiated a reaffirmation agreement with Federal National Mortgage Association
    and said reaffirmation was finalized but cannot be entered due to the discharge issuance.
    Furthermore, this Court is given wide latitude to enlarge the time to enter a reaffirmation
    agreement pursuant to Bankruptcy Rule 4008(a).

 3. This debt is secured by the residence of the debtors, so the entry of the reaffirmation
    agreement is in the interest of all involved parties.

 4. Cause exists for allowing the late filed reaffirmation. Bankruptcy Rule 4008(a) states “The
    court may, at any time and in its discretion, enlarge the time to file a reaffirmation
    agreement.”

     Wherefore the debtors pray that the Court allow the late filing of a reaffirmation agreement
with Federal National Mortgage Association.

                                                    Respectfully submitted,

                                                    /s/ Jeffrey T. Smith
                                                    Jeffrey T. Smith
                                                    Attorney at Law
                                                    502 Trenton Street
                                                    West Monroe, La. 71291
                                                    (318) 322-7655
                                                    E-mail: sam@samhenry4.com




  18-31827 - #15 File 03/22/19 Enter 03/22/19 14:59:10 Main Document Pg 2 of 3
                                   CERTIFICATE OF SERVICE


I hereby certify that on March 22, 2019, a copy of the foregoing Motion to Allow Late Filed
Reaffirmation Agreement was served on the following registered ECF participants, electronically
through the court's ECF System at the email address registered with the court, and the mailing
matrix;


John Clifton Conine
Chapter 7 Trustee
1150 Miller Farm Road
Natchitoches, LA 71457-5322

U.S. Trustee
300 Fannin Street, Ste. 3196
Shreveport, LA 71101-3089

and on the following by ordinary U.S. Mail addressed to:

Aurele and Nila Chevrier
389 Harrell Rd
West Monroe, LA 71291

Federal National Mortgage Association (noa)
C/O Foerstner G. Meyer, Attorney
Graham, Arceneaux & Allen, LLC
639 Loyola Avenue, Suite 1800
New Orleans, LA 70113

/s/ Jeffrey T. Smith
Jeffrey T. Smith
Attorney at Law
502 Trenton Street
West Monroe, La. 71291
(318) 322-7655




  18-31827 - #15 File 03/22/19 Enter 03/22/19 14:59:10 Main Document Pg 3 of 3
